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lN THE UNITED sTATES DISTRICT CoURT Ffi-EL`J BW/ ‘3~’1-
FoR THE WESTERN DlsTRlCT oF TENNESSEE m ,`,' c _ f
WESTERN DIVISION J»J "1!‘-{ § 6 "tf @' 42

 

UNITED STATES OF AMERICA,

Plaintiff,
*
vs. No. 04-20476-D
*
APRIL VEACH,
*
Defendant.

ORDER GRANTING GOVERNMENT'S MOTION
TO CONTINUE SENTENCING

lt is hereby ORDERED that the Government'$ motion to continue the Sentencing of
defendant, APRIL VEACH, currently Set for May 20, 2005, is hereby GRANTED, and the
sentencing is hereby reset to §§u\\Tx_? Q_O, 2005, at \`.3 0 ?N ,

DONE at Mernphis, Tennessee, this l (Q day of{lth¢} 2005.

 

/ ITED STATES DISTRICT JUDGE

APPROVED‘. ;'§ §

Thomas A. Colthurst
Assistant U.S. Attorney

this cochrth entered on the ooct<et Sheet in compliance

With Ftuie 55 and/or 32(!:)) FRCrP on 512 "05

 

 

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ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

